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                       EXHIBIT 21
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                                                        U.S. Patent No. 7 7085 7364

Claim 1                                                                            Identification
I rprel A conference call       To the extent the preamble is limiting, Defendants provide a conference call telephone system:
telephone system, comprising:

                                 Call screen

                                 After accepting a call , the interface functions are
                                 as follows:

                                 • Speaker: Enables loud speaker mode du ring
                                    call.

                                 • Keypad: Opens the dial pad.

                                 • M ute: Mutes the microphone.

                                 • Add call : Adds multiple cal ls.

                                 • Hold: Allows you to answer a new call by
                                    putting the current call on hold and then
                                    resume the current call when the new call
                                    ends.


                                https ://www .sprint.com/content/ dam/sprint/us/en/device-assets/one-plus/ oneplus-9-
                                5g/documents/OnePlus 9 5G User Manual V2.1.pdf




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Claim 1                                                                               Identification




                            Fans lined up to be the first to get t he OnePlus 6T smartphone on October 29, 2018 at T·Moblle's Times Square Signature Store



                      "We're excited to continue our partnership with T-Mobile," said Pete Lau, CEO and Founder of OnePlus. "In
                      fact, users can get their hands on the OnePlus 7 Pro for t he very first t ime at the T-Mobile Times Square
                      store on May 14, with takeover events at T-Mobile stores in Chicago, Las Vegas, Miami, San Francisco and
                      Santa Monica on May 15."

                    https ://www.t-mobile.com/news/press/ oneplus-7-pro-partnership-exclusive




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Claim 1                                                                     Identification

                      [lj OnePlus Community                         Home          My circles       All circles     Store


                      Hi everyone,

                      This week we took two major steps forward.

                      The first, of course, was the introduction of our newest device, the all-new OnePlus 6T. This device
                      is filled with incredible technology that has helped us to continue innovating and exciting our users.
                      We can't wait to hear your reactions and hope that you love what we have helped create hand-in-
                      hand with you!

                      The second was the announcement of our exclusive partnership in the United States with T-Mobile.
                      Since OnePlus began, we have been committed to share the best technology with the world and
                      ensure that no user has to settle for anything less. As we have watched our community grow in the
                      United States, we received a lot of feedback about how to grow and reach a wider audience for the
                      amazing technology we've created. The United States is different in that many users first think of
                      their wireless provider when they think of smarlphones.


                      In order for us to share our message and passion, we saw that partnering with another company
                      was essential in fulfilling our main mission. We didn't want just any partner, we wanted a partner
                      that shared our ideology and would support us for who we are and what we value. As we carefully
                      considered our first partner in the United States we were continually led back to T-Mobile. T-Mobile
                      has disrupted the wireless industry and even brands themselves as the "Un-Carrier." Their growth,
                      commitment to listening to users, and brand identity could not have been more perfect to continue
                      building a great community here in the United States.

                    https://community.oneplus.com/thread/933398




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Claim 1                                                                                                   Identification

                                                                                                        r.mzm1

                                      -
                                                tmo_mike_c
                                                Yes. we do! It's called conference calling and it would be included with the unlimited talk plans.

                                       0 +1s
                                                     ~ ke         " Q..iote


                                   https://community.t-mobile.com/accounts-services-4/three-way-calling-
                                   14920?postid=l 10279#postl 10279

                                     !.wigs:. Airtime usage is measured from the time the network begins to process a call (before the phone rings or the call is answered)
                                     through its termination of the call (after you hang up). For voice calls, we round up any fraction of a minute to the next full minute.
                                     Depending upon your Rate Plan, data usage may be rounded at the end of each data session, at the end of your billing cycle, and/or at the
                                     time you switch data plans. You may be charged for more than one call/message when you use certain features resulting in multiple
                                     inbound or ou tbound calls/messages (such as call forwarding, call waiting, voicemail, 'conference callind. and multi-party messaging). You
                                     will be charged for text, instant or picture messages, and email whether read or unread, sent or received, solicited or unsolicited. We use
                                     filters to block spam messages, but we do not guarantee that you will not receive spam or other unsolicited messages. Add it ional blocking
                                     options are available at www..my I -Mobile com. Most usage and Charges incurred during a billing cycle will be included in your bill for that
                                     cycle. Some usage and Charges may be delayed to a later billing cycle, which may cause you to exceed Rate Plan allotments in a later billing
                                     cycle. Unused Rate Plan allotments expire at the end of your billing cycle, You may be billed addit ional Charges for certain features and
                                     services. Charges for Wi-Fi usage may vary; see your Rate Plan for more details.

                                   https ://www.t-mobile.com/responsibility/legal/tenns-and-conditions

1[a] one or more network;          The system comprises at least one network.

1[b] three or more telephone       The system comprises three or more telephone units interconnected by said one or more network to
units interconnected by said       provide three or more paii icipants of a conference call, at least one of said telephone units receiving and
one or more network to provide     sending data packets including voice data packets.
three or more paii icipants of a
conference call, at least one of   For exainple, when three OnePlus phones connect to provide a conference call using 5G.
said telephone units receiving
and sending data packets
including voice data oackets:

                                                                                    Page 4
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Claim 1                                                                         Identification




                                     Experience America's largest and fastest 5G network on the latest
                                            SG-enabled phone from OnePlus, only at T-Mobile.
                                  https://www.t-mobile.com/devices/newest-oneplus-phone-updates


1[c] a display connected to at    The system comprises a display connected to at least one of said telephone units or fo1ming a paii of at
least one of said telephone units least one of said telephone units.
or forming a pait of at least one
of said telephone units;          For example, the telephone units include a screen.




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Claim 1                                                                          Identification




                                  Screenshot of OnePlus 9
1[d] a device for monitoring      The system comprises a device for monitoring calls of at least one of said telephone units to provide data
calls of at least one of said     to said display for showing conference call paiiicipant infonnation as to the telephone units paiiicipating
telephone units to provide data   in the conference call.
to said display for showing
conference call participant       For example, hai·dwai·e/softwai·e inside the telephone unit provides data to said display as to the
infonnation as to the telephone   telephone units pa1iicipating in the conference call.
units paiiicipating in the
conference call;




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Claim 1                                                                                            Identification

                                         111\. 10   0•        O•   m ~ • 11 1i                2:31 '- 11,1 0 Ii CJ O •   Ill £!~.G il

                                                                                         f-    Manage conference caU

                                           Conference call
                                                     00.54                               e     ,1610·23$·6131                     .,..,,

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                                      ~
                                                          01
                                                         C::,,\        DD
                                     Add cat         Marage            Hold




                                                     •
1[e] an input device associated   The system comprises an input device associated with said display for selecting any of the telephone
with said display for selecting   units from the conference call paiiicipant infonnation and dropping the selected telephone unit from the
any of the telephone units from   conference call.
the conference call paiiicipant
infonnation and dro in the        For exain le a user can ress the button to han

                                                                                 Page?
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Claim 1                                                                                                  Identification
selected telephone unit from the     )j]   ' •   \] I)   f         O   I   m~ - ~ i                   2:31 \. IP O ~ C': 0   •   l?li!.,1
conference call.                                                                                 f-    Manage conference call

                                      Conference call
                                                                                                                                       .,.,,
                                                             00.54                               8     ,1 C,10·23$-6131



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                                                                               DD
                                   Mdcal                 Manage               HOICI




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